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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON

                                PORTLAND DIVISION




HELLS CANYON PRESERVATION                        Civil Action No. 3:11-cv-00023-PK
COUNCIL and OREGON NATURAL
DESERT ASSOCIATION,
                                                 PLAINTIFFS' MOTION FOR
       Plaintiffs,                               ATTORNEYS’ FEES AND
                                                 COSTS

       v.


KENT CONNAUGHTON, Regional Forester,
Region 6, and U.S. FOREST SERVICE,
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               Defendants,

PAT and ANNA SULLIVAN, et. al.

               Defendant- Intervenors.


       Plaintiffs Hells Canyon Preservation Council and Oregon Natural Desert

Association respectfully move this Court for an award of reasonable attorneys’ fees and

litigation expenses that they have incurred to date in their successful prosecution of this

matter against the U.S. Forest Service.

       The Court is authorized to award Plaintiffs their reasonable attorneys’ fees and

litigation expenses against Defendant U.S. Forest Service in this case pursuant to the

Equal Access to Justice Act (EAJA), which provides:

       Except as otherwise specifically provided by statute, a court shall award to
       the prevailing party other than the United States fees and other expenses . .
       . incurred by that party in any civil action (other than cases sounding in
       tort), including proceedings for judicial review of agency action, brought
       by or against the United States in any court having jurisdiction of that
       action, unless the court finds that the position of the United States was
       substantially justified or that special circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A).

       Plaintiffs are entitled to recovery of reasonable attorneys’ fees and litigation

expenses incurred in this matter under EAJA because Plaintiffs are eligible parties as

defined under EAJA; they are the prevailing parties in this litigation, including by having

the Court issue an Order adopting most of the Findings and Recommendation of Judge

Papak and granting summary judgment in Plaintiffs’ favor as to twelve of the sixteen

challenged agency decisions; there are no special circumstances that would make an

award unjust; and Defendants’ position was not substantially justified.




PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                              2
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                   Pursuant to EAJA, Plaintiffs request an award of attorneys’ fees and litigation

costs incurred to date in their successful prosecution of this litigation, based on the

“lodestar” approach for fees (i.e., the reasonable time expended by their counsel at the

reasonable market rates) and based on the actual litigation expenses incurred.

                   Ms. Schwartz seeks hourly rates of between $200 and $235 for the years 2010-

2013, Ms. Rule seeks hourly rates of between $240 and $350 for the years 2007-2013,

Mr. Lacy seeks hourly rates of between $200 and $350 for the years 2005-2013 and Mr.

Becker seeks hourly rates of between $325 and $365 for the years 2010-2013. Litigation

expenses consist of the filing fee, expert declarant fee, postage, mileage for site visits,

court parking, and copying/printing costs. The total fees sought by each of Plaintiffs’

counsel is set forth below (see also Exhibit 1, attached hereto):

Attorney Fees and Costs

Jennifer Schwartz: $161,733.00
Lauren Rule: $19059.50
David Becker: $5292.50
Peter Lacy: $3923.00
Litigation Expenses: $2070.94
Total fees and expenses: $192,078.941

                   Plaintiffs and Defendants are currently negotiating in good faith to attempt to

settle the issue of attorney fees and litigation expenses. However, to insure the timely

filing of this motion, Plaintiffs file it now and will provide further briefing, declarations,

timesheets and other documents in support of this motion at a later time if negotiations

fail. Specifically, Plaintiffs are filing the accompanying motion to stay the briefing on

this matter until July 15, 2013 in order to try to reach settlement and avoid litigating this


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           If settlement negotiations are unsuccessful to resolve this fee claim, Plaintiffs reserve
the right to seek additional fees to cover further time and costs for litigating this issue.

PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                                                                                                                                                                   3
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matter. See Plaintiffs’ Unopposed Motion to Stay Motion for Attorneys’ Fees and Costs

(filed concurrently).

       WHEREFORE, Plaintiffs respectfully pray that the Court grant this motion; and

award them attorneys’ fees and litigation expenses in the amount of $192,078.94 for the

fees and expenses they have reasonably incurred to date in this action.



DATED this 4th day of June, 2013                     Respectfully Submitted,

                                                     /s/ Jennifer Schwartz_________
                                                     Jennifer R. Schwartz, OSB #072978

                                                     Of Attorneys for Plaintiffs




PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS                                          4
